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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

KIPLING APPAREL CORP., Civil Action No. 16-8360
Plaintiff, NOTICE OF VOLUNTARY
DISMISSAL WITHOUT
-against- PREJUDICE

JOHN DOES 1-30, JACK DOES 31-60 and JANE
DOES 61-100
Defendants.

 

 

PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure
41(a)(1)(A)(i), whereas no Defendant has filed an answer or motion for summary
judgment, Plaintiff hereby voluntarily dismisses this action, without prejudice.

PLEASE TAKE FURTHER NOTICE that this notice of dismissal shall have
no effect on the three exisiting Permanent Injunctions and Final Judgments on
Consent entered by this Court on December 19, 2016 (Go & Go Trading Inc.) and
December 14, 2016 (Modou Seck and Frank Visich), which shall remain in full force

and effect.

Dated: New York, New York — \ . — —_—)

January 20, 2017 Nol
VAS

AKERMAN LLP ——
Ira S. Sacks

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Attorneys for Plaintiff Kipling Apparel Corp.

 

So Ordered:
January, 2017

 

Hon. Lorna G. Schofield
